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 4
     Attorney for ANTONIO ALCANTAR HERNANDEZ
 5
 6                             UNITED STATES DISTRICT COURT
 7                            EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )               CR. NO. S-04-175-LKK
 9                                         )
                           Plaintiff,      )               STIPULATION AND
10                                         )               ORDER
     vs.                                   )               TO CONTINUE
11                                         )               STATUS CONFERENCE
     ANTONIO ALCANTAR HERNANDEZ,           )
12                                         )
                           Defendant.      )
13   _____________________________________ )
14          Defendant Antonio Alcántar Hernández, through his appointed counsel, Gilbert A.
15   Roque, and the United States of America, through Assistant United States Attorney Russell
16   Carlberg, agree that the Status Conference set for February 12, 2008, at 9:30 a.m., be
17   continued to March 11, 2008, at 9:30 a.m.
18         In addition, it is agreed that the Court should find excludable time through March 11,
19   2008, pursuant to Local Rule T-4.
20                                           Respectfully submitted,
21   DATED: February 6, 2008                 /s/ Gilbert A. Roque
                                             GILBERT A. ROQUE, Attorney for
22                                           ANTONIO ALCANTAR HERNANDEZ, Defendant
23
     DATED: February 6, 2008                 /s/ Russell Carlberg________________________
24                                           RUSSELL CARLBERG
                                             Assistant United States Attorney
25
           IT IS SO ORDERED.
26
27   DATED: February 11, 2008
28
